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Exhibit 4

Projected 20 year sales for Martini’s outside venue
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Filed 06/17/25

| Year Sales ($) coGs (5) Payroll ($) Marketing ($) Net Income ($) |
1  $1,000,000.00 $300,000.00 $250,000.00 $20,000.00 $430,000.00
2  $1,100,000.00 $339,900.00 $283,250.00 $20,000.00 $456,850.00
3 $1,210,000.00 $385,106.70 $320,922.25 $20,000.00 $483,971.05
4 $1,331,000.00 $436,325.89 $363,604.91 $20,000.00 $511,069.20
5 $1,464,100.00 $494,357.23 $411,964.36 $20,000.00 $537,778.40
6 $1,610,510.00 $560,106.75 $466,755.62 $20,000.00 $563,647.63
7 $1,771,561.00 $634,600.94 $528,834.12 $20,000.00 $588,125.94
8 $1,948,717.10 $719,002.87 $599,169.06 $20,000.00 $610,545.17
9 $2,143,588.81 $814,630.25 $678,858.54 $20,000.00 $630,100.02
10 $2,357,947.69 $922,976.07 $769,146.73 $20,000.00 $645,824.89
11 $2,593,742.46 $1,045,731.89 $871,443.24 $20,000.00 $656,567.32
12 $2,853,116.71 $1,184,814.23 $987,345.20 $20,000.00 $660,957.28
13. $3,138,428.38 $1,342,394.53 $1,118,662.11 520,000.00 $657,371.74
14 $3,452,271.21 $1,520,933.00 $1,267,444.17 $20,000.00 $643,894.05
15 $3,797,498.34 $1,723,217.09 $1,436,014.24 $20,000.00 $618,267.01
16 $4,177,248.17 $1,952,404.96 $1,627,004.13 $20,000.00 $577,839.07
17. $4,594,972.99 $2,212,074.82 $1,843,395.68 $20,000.00 $519,502.48
18 $5,054,470.28 $2,506,280.77 $2,088,567.31 $20,000.00 $439,622.20
19 $5,559,917.31 $2,839,616.12 $2,366,346.76 $20,000.00 $333,954.43
20 $6,115,909.04 $3,217,285.06 $2,681,070.88 $20,000.00 $197,553.10

$57,274,999.49

$25,151,759.17 $20,959,799.31

$400,000.00 $10,763,440.98

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